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 6                       UNITED STATES DISTRICT COURT
 7                      CENTRAL DISTRICT OF CALIFORNIA
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 9 JAMES FAGRELL,                             No. 2:19-cv-07793-SAB-PJWx
10        Plaintiff,
11        v.
12 C. R. BARD, INC., and BARD                 ORDER TO SHOW CAUSE
13 PERIPHERAL VASCULAR, INC.,
14        Defendants.
15
16        On January 13, 2020, the Court stayed the discovery and all pretrial
17 deadlines in the above-captioned case until July 9, 2020. ECF No. 33. No further
18 action has been taken in this matter.
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     ORDER TO SHOW CAUSE ~ 1
 Case 2:19-cv-07793-SAB-PJW Document 43 Filed 12/30/20 Page 2 of 2 Page ID #:607



1        Accordingly, IT IS HEREBY ORDERED:
2        1. Within thirty (30) days from the date of this Order, the parties are
3 directed to show cause as to the status of this case.
4        IT IS SO ORDERED. The Clerk of Court is directed to enter this Order
5 and forward copies to counsel.
6        DATED this 30th day of December 2020.
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10                         ____________________________
                                  Stanley A. Bastian
11                            United States District Court
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     ORDER TO SHOW CAUSE ~ 2
